Case 1:19-cv-10203-IT Document 52-9 Filed 07/31/19 Page 1of 3

Exhibit I

Case 1:19-cv-10203-IT Document 52-9 Filed 07/31/19 Page 2 of 3

GREGORIO PLLC.
301 S. Eim St., Ste 507
Gretnusboro, NC 27401

(336) 645-3595
james@gregorioptle.com

July 17, 2018

Via Email: jac@cohenblg.com.

Jeffrey A. Cohen, Esq.

Cohen Business Law Group
10990 Wilshire Bivd., Suite 1025
Los Angeles, CA 90024

Re. Dawn Dorland Copyricht Claim

Dear Mr. Cohen:

Tam legal counsel to Sonya Larson. Your correspondence of July 3, 2018 to The Boston Book
Festival (“BBF”) has been forwarded to me,

The allegations preseited-in your letter are absélutely, unequivocally, entirely, irrefutably,

demonstrably false, frivolous, apd without merit, :

Tam skeptical that “BBF has already admitied infringément.of the Work by Ms. Larson,” as you
allege. Regardiess, BBF is not authorized to conimunicate on my’ client’s behalf and, in any case,

no infringement occurred, and no.attribution fo your client is warranted.

Regrettably, your client made no effort whatsoever io engage.directly with Ms. Larson regarding
this matter. Nor did I receive any communication after thy iitvitation,. vid Rebécca Markovits
(“please forward my contact information to Ms. Dorland and convey to her that I will be happy
to talk with her (or her attortiey) dbout any concerns shé may have regarding Sonya’s story.”).

In order to further evaluate this matter, please immediately forward to me for review: (i) acopy
of “Dorland kidney chain final recipient Work July 2, 2015,” (2) evidence of the allegedly
egregious “duplication in some instances, and striking similarity in. others” between The Kindest
and your client’s work, (3) the date of first publication of your client’s work, and (4) copyright
registration number/date of your client’s work.

Be advised: Your client’s actions constitute harassment, defamation per se, and tortious
interference with business and, contractual relations, In-particular: Demand is hereby made
"that your client cease and desist from any and all defattiatory communication regarding my
- client, including without limitation any contact regarding this matter with any media
organization, and with her employer...

‘Case 1:19-cv-10203-IT Document 52-9 Filed 07/31/19 Page 3 of 3

Jeffrey A. Cohen, Esq.
July 17, 2018
Page 2 of 2

My client is humbled and honored to have her work recognized by the Boston Book. Festival. If
BBF elects — as would be their prerogative — not to publish The Kindest.as its 2018 One City
One Story selection, we shall consider the actions of Dawn Dorland to be the proximate cause of
the resulting injury to.my client. Be assured, Ms, Dorland will be held accountable. Furthermore,
if Ms. Dorland commences a lawsuit in connection. with-this matter in any state or federal court,
my client will seek Rule 11 sanctions against Ms. Dorland and her attorneys.

I strongly recommend you withdraw your demand letter immediately.
You have been notified.

Nothing contained herein or not contained herein should be taken as a waiver of any rights of my
client, all of which are hereby expressly reserved.

Most sincerely,

ce: Paul Sennott, Esq. via email: paul@sennottwilliams.com

ames A. Gregorio, Esq.

